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10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               ED CR No. 21-00174-JWH

14             Plaintiff,                    PROTECTIVE ORDER

15                  v.

16   RICHARD ALLEN KERR,

17             Defendant.

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1         The Court has read and considered the Stipulation Regarding

2    Protective Order filed on August 23, 2021.        The Court hereby

3    incorporates the parties’ Stipulation into this Protective Order, and

4    finds that the Stipulation establishes good cause for entry of a

5    protective order pursuant to the Court’s power to regulate discovery

6    and Federal Rule of Criminal Procedure 16(d)(1).

7         Therefore, IT IS HEREBY ORDERED:

8         1.    All materials that the government produces to the defense

9    are solely for the use of defendant, and the Defense Team, 1 and

10   solely to allow for litigation of this matter and for no other

11   purpose.   The purpose of this Protective Order is to prevent

12   unauthorized dissemination, distribution, or use of discovery

13   materials in this case.

14        2.    The Defense Team is prohibited from directly or indirectly

15   providing access to, or otherwise disclosing the contents of, these

16   materials to anyone not working on the defense of this criminal case,

17   or otherwise making use of the materials in a manner unrelated to the

18   defense of this criminal case.

19        3.    Defendant may not review or possess any discovery or notes

20   or other recordings of the contents of discovery produced by the

21   government pursuant to this protective order at any time, except when

22   in the presence of the Defense Team.

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          1 “Defense Team” includes (1) defendant’s counsel of record
25   (“defense counsel”); (2) other attorneys at defense counsel’s law
     firm who may be consulted regarding case strategy in this case;
26   (3) defense investigators who are assisting defense counsel with this
     case; (4) retained experts or potential experts; and (5) paralegals,
27   legal assistants, and other support staff to defense counsel who are
     providing assistance on this case. The Defense Team does not include
28   defendant, defendant’s family members, or any other associates of
     defendant.
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1         4.      The Defense Team shall maintain all materials received from

2    the government in a manner consistent with the terms of this

3    Protective Order.     Materials produced by the government to the

4    defense shall be stored in a secure manner.

5         5.      The Defense Team shall use Confidential Information (i.e.,

6    material or information subject to this Protective Order) only for

7    the litigation of this matter and for no other purpose.          Litigation

8    of this matter includes any appeal filed by defendant and any motion

9    filed by defendant pursuant to 28 U.S.C. § 2255.         In the event that a

10   party needs to file Confidential Information with the Court or

11   divulge the contents of Confidential Information in court filings,

12   the filing should be made under seal.       If the Court rejects the

13   request to file such information under seal, the party seeking to

14   file such information publicly shall provide advance written notice

15   to the other party to afford such party an opportunity to object or

16   otherwise respond to such intention.       If the other party does not

17   object to the proposed filing, the party seeking to file such

18   information shall redact any references concerning or identifying a

19   confidential human source, personal identifying information, or

20   Privacy Act information and make all reasonable attempts to limit the

21   divulging of such materials.

22        6.      Defendant and his attorney are required to give a copy of

23   this Protective Order to all individuals or entities engaged or

24   consulted by defense counsel in preparation of the trial in this

25   case.     A violation of this Protective Order by defendant, his

26   attorney, or others may result in contempt of court proceedings or

27   other civil or criminal sanctions.

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1         7.   At the time that judgment in this matter becomes final, any

2    person in possession of any discovery, including defense counsel,

3    defense counsel’s employees, any defense investigators, and any

4    retained defense experts, must destroy, or return to the government,

5    any and all copies of any discovery and any portion thereof in their

6    actual or constructive possession.

7         8.   Defense counsel may seek to have discovery that is subject

8    to the Protective Order at the time it is produced exempted from the

9    Protective Order.    If defense counsel seeks to have such discovery

10   exempted from the Protective Order, he or she shall make the request

11   to government counsel and attempt to reach an agreement as to whether

12   and what discovery should be exempted.       Defense counsel may make a

13   request to the Court to have discovery that is subject to the

14   Protective Order at the time it is produced exempted from the

15   Protective Order on a showing of good cause, only if counsel has

16   first made such a request to the government and been unable to reach

17   agreement.

18        9.   In the event that there is a substitution of counsel prior

19   to when such documents must be returned, new defense counsel must be

20   informed of, and agree in writing to be bound by, the requirements of

21   the Protective Order before defense counsel transfers any

22   Confidential Information to the new defense counsel.          New defense

23   counsel’s written agreement to be bound by the terms of the

24   Protective Order must be returned to the Assistant U.S. Attorney

25   assigned to the case.    New defense counsel then will become the

26   Defense Team’s custodian of materials designated subject to the

27   Protective Order and shall then become responsible, upon the

28   conclusion of appellate and post-conviction proceedings, for

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1    returning to the government or certifying the destruction of all

2    materials subject to the Protective Order.

3         10.    Circumstances may arise at a later time which may require

4    that the provisions of the accompanying stipulation and this Order be

5    modified.   However, such modification shall be made only if all

6    parties to the accompanying stipulation agree in writing to such

7    modification.   If the parties fail to reach an agreement, any party

8    may then bring the matter up before the Court.

9         IT IS SO ORDERED.

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11   August 25, 2021
     DATE                                   HON. JOHN W. HOLCOMB
12                                          UNITED STATES DISTRICT JUDGE
13   Presented by:
14

15        /s/
     SEAN D. PETERSON
16   Assistant United States Attorney
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